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STATE OF NEW YORK
SUPREME COURT                 COUNTY OF SARATOGA                                                                 §
                                                                                                                 to




STEPHEN KRAKOWER,                                                                                                I
                              Plaintiff,                           SUMMONS


                -against-
                                                                   Index No.
CONTINENTAL PLANTS GROUP, LLC,
REID KRAKOWER, and ANDREW LEVINSON,                                Date Purchased:

                                                                                                 «l        5>»
                              Defendants.                                                        ao °X     **?
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TO THE ABOVE-NAMED DEFENDANT(S):                                                                •<    a)   (O^
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                                                                                                           OJ


        Continental Plants Group, LLC, 445 Park Avenue, 9th Floor,, New
                                                                    New York, NY 10022
                                                                                                 x-


                                                                        York, NY 10022                     OS
                                                                                                           >




        Reid Krakower, c/o Continental Plants Group LLC, 445 Park Avenue,
                9th Floor, New York, NY 10022

        Andrew Levinson, c/o Continental Plants Group LLC, 445 Park Avenue,
                9th Floor, New York, NY 10022

        YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the Plaintiffs attorney within 20 days after the service of this summons,
exclusive of the dateof service (or within 30 days after the service is complete if the summons is
not personally delivered to you within the State of New York); and in case of your failure to
appear or answer, judgment will be taken against you by default for the relief demanded in the
complaint.

        The basis of venue is that Plaintiff is a resident of the County of Saratoga, State of New
York.

DATED: July 21, 2014
             Albany, NewYork                         Hinckley, Allen & Snyder LLP

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                                                                               T7
                                                     Michael L. Koenig
                                                     Attorneys for Plaintiff
                                                     30 South Pearl Street, Suite 901
                                                     Albany, New York 12207
                                                     (518)396-3100
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STATE OF NEW YORK
SUPREME COURT                  COUNTY OF SARATOGA

STEPHEN KRAKOWER


                       Plaintiff,                                    COMPLAINT

                -against-                                           Index No.

CONTINENTAL PLANTS GROUP LLC,
REID KRAKOWER, and ANDREW LEVINSON

                       Defendants.
                                                                                                  *§   §K


                                      INTRODUCTION                                                13 gg
          This employment dispute arises from DefendantContinental Plants Group, LLC                   CD
                                                                                                       >



("Continental") and Defendants Reid Krakower ("R. Krakower") and Andrew Levinson's

("Levinson"), (collectively, the "Defendants"), refusal to pay Plaintiff Stephen Krakower

("Krakower") his earned wages. Krakower brings claims under the Fair Labor Standards Act

("FLSA") and New York Labor Law ("NYLL") for his unpaid wages, as well as common law

claims.


                                        THE PARTIES


          1.    Krakower is a New York resident with an address of 6 Moss Creek Road, Middle

Grove, New York 12850. Krakower earned a B.S. in Business Administration at the Washington

University in St. Louis.

          2.    Continental is a New York domestic limited liability company. Continental has a

principal place of business located at 445 Park Avenue (9th Floor), New York, New York 10022

and a Vermont address at 1279 Mountain Road, Stowe, Vermont 05672.

          3.    Upon information and belief, R. Krakower is a Vermont resident. Continental




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employs R. Krakower as a Principal. R. Krakower is Krakower's brother.

       4.      Upon information and belief, Levinson isaNew Hampshire resident. Continental
employs Levinson as a Principal.

                                JURISDICTION AND VENUE

       5.      This Court has personal jurisdiction over Continental under N.Y.C.P.L.R. § 301

and/or §302(a) because Continental is continuously and systematically transacting business in
the State ofNew York, has a place of business in the State ofNew York and the causes ofaction
asserted by Krakower arise from Continental's business activities inthe State ofNew York.
       6.      The Court has personal jurisdiction over R. Krakower pursuant to N.Y.C.P.L.R. §
301 and/or § 302(a) because he is actively transacting business in the State ofNew York and the
causes of action asserted by Krakower arise from R. Krakower's business activities in the State

of New York.

       7.      The Court has personal jurisdiction over Levinson pursuant to N.Y.C.P.L.R. §

301 and/or §302(a) because he is actively transacting business inthe State ofNew York and the
causes ofaction asserted byKrakower arise from Levinson's business activities inthe State of

New York.

        8.     Venue is proper in this county pursuant to N.Y.C.P.L.R. § 503(a) because

Krakower resides in this county.

                                   FACTUAL BACKGROUND


Continental's Business

        9.     According to its website, Continental "provides its clients with the highest quality
asset valuation, liquidation and disposition services and innovative capital solutions with
unparalleled service, integrity, and results." Specifically, Continental values and assesses



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commercial and industrial assets throughout North America for a wide-ranging number of

entities. Continental specializes in collateral review and evaluation of manufacturing entities.

       10.       Various lenders, suchas banks and asset-based private lenders, hire Continental

as part oftheir initial, orcontinued, due diligence on borrowers. Lenders also often hire
Continental when a borrower breaks a covenant to research whether the borrower is on schedule

for repayment.

        11.       Fordue diligence, lenders hire Continental to conduct a quantitative and

qualitative assessment ofthe borrower. As part ofits quantitative review, Continental identifies
and analyzes working capital assets including accounts receivable, inventory (raw, work-in-
process and finished goods), along with inventory management systems and fixed assets
including machinery and equipment. Also as part of the quantitative review, Continental

analyzes the borrower's costs, sales history, and open order backlog to determine operating
margins, and provide an assessment of asset recovery values.

        12.      A due diligence review also consists of Continental completing a qualitative

assessment. A Continental employee physically visits a borrower's location (such as a plant) and

tours the facility, meets with management, and otherwise assesses theborrower's overall state.

        13.      Continental analyzes all its collected data from its quantitative and qualitative

assessments into a summary report for the lender. The report evaluates the lender's investment

with the borrower, and specifically addresses whether the lender's investment is at risk.
        14.      Continental also specializes in winding down distressed entities and ensuring they

get the best recovery possible for their assets. Continental also assists entities with, among other
things, bankruptcy reorganization and financial restructurings.

        15.      To assist companies in the winding down phase, Continental employee(s) visit the



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company's location to get as much information and detail as possible from the company.
Continental evaluates the company's assets, costs, and meets with the company's management to

develop strategies for assisting with the company's finances. If need be, Continental conducts
research to identify a potential buyer of the business or some of its assets.

Krakower's Job Duties at Continental

        16.    By email dated April 29, 2002, Levinson offered Krakower a Vice President

position at Continental. The body ofthe email stated Krakower would be paid $90,000 annually
as a base salary and be eligible for certain bonus payments.

        17.    Krakower accepted Continental's job offer andcommenced employment in May

2002.

        18.    At all relevant times, Continental employed five individuals, including Krakower.

R. Krakower and Levinson were Principals, Joel Goldsmith was a Vice President, and Mark

Fleckenstein was an Analyst.

        19.    Due to the small size of the company, each employeeperformed many different

roles and each employee often assisted on each Continental project.

        20.     Krakower rented office space in Albany, NewYork to complete hiswork, buthe

often traveled to complete his duties as a Vice President.

        21.     As a Continental Vice President, Krakower assisted with Continental' s due

diligence projects. Specifically, Krakower often traveled to Continental's clients to conduct the
qualitative assessment ofa due diligence project. Krakower gathered as much information as
possible on the company. Krakower identified all the company's assets and costs. He would
often speak with company management to discuss the company's projections and predictions.
Krakower also assisted in composing the report following a due diligence project. These



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projects were time-consuming and often involved workweeks well in excess of forty hours, as

well as work days in excess often hours.

       22.     Krakower also assisted Continental's clients in winding down their business or

evaluating their assets. Krakower traveled all over the country to Continental's clients to gather

as much information as possible, speak with management, and otherwise conduct an assessment

of the company's overall state. If need be, Krakower attempted to find a potential buyer for the

company. Krakower also evaluated a company's assets and, with the assistance of other

Continental employees, identified assets to potentially sell.

       23.     These projects, just like the due diligence projects, were labor-intensive and

involved extensive travel. The projects involved workweeks well in excess of forty hours, as

well as work days in excess often hours.

        24.    Continental also tasked Krakower with business development. Krakower

identified and located prospective clients by attending various networking events and reviewing

public notices of companies in need of financial assistance.

        25.    After identifying a prospective client, Krakower gathered as much information

about the business as needed for review and discussion with R. Krakower and Levinson for

preparing and submitting a proposal for services.

        26.    Krakower's efforts resulted in a substantial amount of business for Continental.

        27.    As a result of Krakower's wide-ranging job duties at Continental, he often worked

more than forty hours in a workweek.

        28.    Continental didnotpay Krakower overtime for anyhourhe worked in excess of

forty during a week.

        29.    From May 2002 to June 2009, Continental paid Krakower his annual salary of



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$90,000 and reimbursed Krakower for all reasonable business expenses.

Continental Suspends Krakower's Pay

        30.    In June 2009, Levinson contacted Krakower and stated that effective immediately

Continental would temporarily suspend paying Krakower's salary on account of purported

financial troubles.

        31.     Levinson provided no further details, including when Continental would again

start paying Krakower his earned wages.

        32.     Krakower did not press the issue of any repayment plan as he wanted to do

whatever he could to assist his brother, and Continental, succeed financially.

        33.     However, Krakower believed, and Continental's actions and representations

suggested, that Continental would pay Krakower his agreed-upon salary for the entire time it
suspended Krakower's salary once Continental was financially able to do so.

Continental Does Not Pay Krakower All His 2009 Earned Wages

        34.     Starting inJune 2009 and continuing through December 2011, Continental did not
pay Krakower all his earned wages. Continental only made sporadic payments, which had no
relationship to the actual hours worked, nor did the payments equal his salary of$90,000 per

year.


        35.     Up until June 2009, Continental paid Krakower his agreed-upon pro-rated salary
of $37,500. Continental did notpay Krakower any additional amount for the restof 2009,

despite Krakower continuing to work for Continental on a full time basis. Continental did,
however, reimburse Krakower for all reasonable business expenses.

        36.     That is, from June 2009 through December 2009, Krakower continued his full

time job ofassisting on Continental's due diligence projects, and assisting clients winding down



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their business or evaluating these assets, among other job duties. Krakower also continued to

develop and generate business for Continental.

       37.    From June 2009 through December 2009, Krakower worked more thanforty-

hours a week during various workweeks, as well as work days in excess often hours.

       38.    Continental benefited from Krakower's work on its behalf during 2009.

Continental Does Not Pay Krakower All His 2010 Earned Wages

       39.     Throughout 2010, Continental continued to employ Krakower on a full time basis.

Krakower continued his full time job of assisting on Continental's due diligence projects, and

assisting clients winding down their business or evaluating these assets, among other job duties.
Krakower also continued to develop and generate business for Continental.

       40.      Continental paid Krakower a total of $17,500 for his work during 2010.

Continental paid Krakower $7,500 inFebruary 2010 and $10,000 in August 2010. Continental
did not pay Krakower any other amount for his hours worked during 2010, but it did reimburse
him for all his reasonable business expenses.

        41.    During 2010, Krakower worked more than forty-hours a week during various

workweeks, as well as work days in excess often hours.

        42.    Continental benefited from Krakower's work on its behalf during 2010.

Continental Does Not Pay Krakower All His 2011 Earned Wages

        43.    Throughout 2011, Continental continued to employ Krakower ona full time basis.
Krakower continued his full time job of assisting on Continental's due diligence projects, and

assisting chents winding down their business or evaluating these assets, among other job duties.
Krakower also continued to develop and generate business for Continental.

        44.     Continental paid Krakower a total of $30,000 for his work during 2011.



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Continental paid Krakower $20,000 in May 2011 and 10,000 in August 2011. Continental did

not pay Krakower any other amount for his hours worked during 2011, but it did reimburse him

for all his reasonable business expenses.

         45.   During 2011, Krakower worked more than forty-hours a week during various

workweeks, as well as work days in excess often hours.

         46.   Continental benefited from Krakower's work on its behalf during 2011.

Despite Multiple Requests, Continental Refused to Pay Krakower All His Earned Wages

         47.   Between June 2009 and December 2011, Krakower requested multiple times to

Continental's Principals, R. Krakower andLevinson, thathe be paid all his earned wages.

Krakower inquired as to Continental's plan to pay him for all hours worked.

         48.   Krakower mostly conversed with Levinson about the nonpayment of his earned

wages.


         49.   Levinson told Krakower that Continental would "catch up" on his earned wages.

R. Krakower often said that a pending deal or prospective client could be a "game changer" for

Continental and thus allow the companyto pay Krakower all his owed wages.

         50.   Due to Krakower's desire to see his brother and Continental succeed, he trusted

that Continental would pay him all his earned wages when it was financially able to do so.

         51.    But despite Krakower's multiple requests, Continental never paid Krakower all

his earned wages from June 2009- through December 2011.

         52.   In 2011, Krakower worked on a project on Continental's behalffor a New York

manufacturer ("New York Project"). The New York Project, like most other Continental
projects, was time-consuming and labor intensive. Levinson and R. Krakower told Krakower
that after completing the New York Project, Continental would "catch up" on Krakower's owed

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wages.


          53.   After Krakower completed the New York Project, however, Continental did not

pay Krakower his owed wages. Instead, Continental paid Krakower $10,000 in August 2011,

which amounted to compensating Krakower for only his time spent on site for theNew York

Project. The $10,000 did not compensate Krakower for the substantial work that he did on the

New YorkProject off site, let alone all his earned wages since June 2009.

          54.   Nevertheless, Krakower continued to work full time for Continental after August

2011, believing Levinson's and R. Krakower's representations that he would be paid all his owed

wages.


          55.   After August 2011, Continental did not issue Krakower anotherpay check.

          56.   By email dated January 9, 2012, Krakower asked R. Krakower when and how

Continental would pay Krakower all his owed wages since 2009.

          57.   R. Krakower did not respond to Krakower's email and againContinental did not

pay Krakower all his earned wages.

          58.   Due to nonpayment of wages, Continental forced Krakower to leave his position

as Vice President in January 2012.

                  COUNT I (FLSA Minimum Wage and Overtime Violation)
                                     (Against All Defendants)

          59.   Krakower repeats and realleges paragraphs 1-58 of this Complaint as if set forth

herein.

          60.   At all relevant times, Krakower was a Continental "employee" within the

meaning of 29 U.S.C. §203.

          61.   At all relevant times, Continental is an enterprise engaged in commerce within the




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meaning of 29 U.S.C. §§206 and 207.

       62.     At all relevant times, R. Krakower and Levinson, as Continental's Principals, had

the authority to hire and fire Continental employees and set an employee's terms and conditions
of employment, including anemployee's compensation.
       63.     Further, R. Krakower and Levinson played integral roles inthe day to day
operation of Continental. They both had decisional and operational authority over the business.
As Principals, R. Krakower and Levinson oversaw all aspects ofContinental's business.
       64.     As such, R. Krakower and Levinson are "employer[sj"' within the meaning of29

U.S.C. §203.

       65.     Beginning in June 2009 and continuing through December 2011, Defendants
willfully failed to compensate Krakower the minimum wage for the hours he worked, in
violation of the FLSA.

        66.     Beginning in June 2009 and continuing through December 2011, Defendants
willfully failed to compensate Krakower at arate of one-and-a-half times his regular rate of pay
for each hour he worked inexcess offorty hours in a workweek, in violation ofthe FLSA.
        67.    Defendants' FLSA violationswere willful and intentional.

        68.     Krakower is entitled to recover from Defendants, jointly and severally, amounts

 to be proven at trial for his unpaid minimum wages, overtime wages, an additional amount equal
 as liquidated damages, reasonable attorney's fees, and the costs ofthis action. 29 U.S.C.
 §216(b).

                              COUNT II (NYLL Unpaid Wage Violation)
                                        (Against All Defendants)

        69.     Krakower repeats and realleges paragraphs 1-68 ofthis Complaint as ifset forth


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herein.


          70.   At all relevant times, Krakower was Continental's "employee" within the

meaning of NYLL §§ 2, 190.

          71.   At all relevant times, Continental was an "employer" within the meaning of

NYLL §§2, 190.

          72.   At all relevant times, R. Krakower and Levinson were "employer[s]" within the

meaning of NYLL §§ 2, 190.

          73.   Beginning in June 2009 and continuing through December 2011, Defendants

willfully required, suffered, or permitted Krakower to work but did not pay him his wages earned

in accordance with the agreed terms of employment, in violation of NYLL § 191.

          74.   Krakower is entitled to recover from Defendants, jointly and severally, amounts

to be proven at trial for his wages earned in accordance withthe agreed terms of employment,

liquidated damages equal toone-hundred percent of thetotal wages found to be due, reasonable

attorney's fees, and the costs of this action. NYLL § 198.

                    COUNT III (NYLL Minimum Wage and Overtime Violation)
                                        (Against All Defendants)

          75.   Krakower repeats and realleges paragraphs 1-74 of this Complaint as if set forth

herein.


          76.   At all relevant times, Krakower was Continental's "employee" within the

meaning of NYLL §§2,651.

          77.   At all relevant times, Continental is an "employer" within the meaning of NYLL

§§2, and 651.

          78.   At all relevant times, R. Krakower and Levinson were "employer^]" within the



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meaning of NYLL §§ 2, and 651.

          79.   Beginning in June 2009 and continuing through December 2011, Defendants

willfully required, suffered, orpermitted Krakower towork for less than the minimum wage in
violation of NYLL § 652 and 12 NYCRR § 146-1.2.

          80.   Beginning in June 2009 and continuing through December 2011, Defendants

willfully failed to compensate Krakower at a rate ofone-and-a-half times his regular rate ofpay
for each hour he worked in excess of forty hours in a workweek in violation of NYLL § 652 and

12 NYCRR § 142-2.2.

          81.   Krakower is entitled to recover from Defendants, jointly and severally, amounts

tobeproven at trial for his unpaid minimum wages, overtime wages, liquidated damages equal
to one-hundred percent of the total wages found to be due, reasonable attorney's fees, and the

costs of this action. NYLL § 663.

                         COUNT TV (NYLL Spread of Hour Violation)
                                (Against Both Defendants)

          82.   Krakower repeats and realleges paragraphs 1-81 of this Complaint as if set forth

herein.


          83.   Beginning in June 2009 and continuing through December 2011, Krakower

worked more than ten hours a day during various workweeks. With the exception of a few

weeks during this time frame, Krakower did not receive a minimum wage.

          84.   Beginning in June 2009 and continuing through December 2011, the interval
between the beginning and end ofKrakower's work day ("spread of hours"), including time off
for meals and other off-duty intervals, exceeded ten hours on various occasions. With the

exception of a few weeks during this time frame, Krakower did not receive a minimum wage.


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          85.    Beginning in June 2009 and continuing through December 2011, Defendants did

not pay Krakower anextra hour of pay for the days he worked, or when the "spread of hours"

was more than ten hours ("spread-of-hour pay"), in violation of 12 NYCRR § 142-2.4.

          86.    Krakower is entitled to his earned "spread-of-hour-pay" in addition to the

minimum wage and overtime pay he earned from June 2009 through December 2011.
          87.    Krakower is entitled to recover from Defendants, jointly and severally, amounts

to be proven attrial for his "spread-of-hour pay," liquidated damages equal to one-hundred
percent ofthe total wages found to be due, reasonable attorney's fees, and the costs ofthis
action. NYLL § 663.

                        COUNT V (NYLL Statement of Wages Violation)
                                     (Against All Defendants)

          88.    Krakower repeats and realleges paragraphs 1-87 ofthis Complaint as if set forth

herein.

          89.    Beginning in June 2009 and continuing through December 2011, Defendants did
not provide Krakower statements on at least a semi-monthly basis containing his payment of
wages, listing ofgross wages, deductions, and net wages, in violation ofNYLL § 195(3).
          90.    Krakower is entitled to $100for each statement (with a maximum recovery of

$2500) he did not receive.

          91.     Krakower is entitled to recover from Defendants, jointly and severally, an

amount not exceeding $2500, reasonable attorney's fees, and the costs ofthis action for
Defendants'NYLL 198(1-d) violation.

                                 COUNT VI (Breach of Contract)
                                    (Against Continental)

           92.   Krakower repeats and realleges paragraphs 1-91 ofthis Complaint as if set forth

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herein.


          93.    Continental and Krakower entered into a contract whereas Continental would pay

Krakower an annual salary of $90,000 for allhours he worked on Continental's behalf.

          94.    Krakower performed his obligations under the Contract.

          95.    Starting in June 2009, Continental failed to perform its obligations under the

Contract.


          96.    As a result of Continental's breaches of the contract, Krakower sustained

substantial damages to be proven at trial.

                                COUNT VII (Unjust Enrichment)
                                    (Against Continental)

          97.    Krakower repeats and realleges paragraphs 1-96 of this Complaint as if setforth

herein.

          98.    Starting in June 2009 andthrough December 2011, Continental received the

benefits of Krakower's services without fully compensating him.

          99.    As a result, Continental has been unjustly enriched and it wouldbe inequitable to

allow Continental to receive the benefits of Krakower's labor without compensating Krakower.

          100.   Krakower is entitled to the value of all that time and effort wrongfully conferred

to Continental in an amount to be proven at trial.

                                     REQUEST FOR RELIEF

          WHEREFORE, Krakower requests that the Court:

          A.     Enter judgment in Krakower's favor onall Counts of this Complaint and award

 Krakower damages for the injuries he has suffered;

          B.     Award Krakower unpaid minimum wages and an additional equal amount as



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liquidated damages, pursuant to 29 U.S.C. § 216(b);

       C.     Award Krakower unpaid minimum wages and an additional equal amount as

liquidated damages, pursuant to NYLL § 663(1);

       D.     Award Krakower unpaid overtime wages and an additional equal amount as

liquidated damages, pursuant to 29 U.S.C. §216(b);

       E.     Award Krakower unpaid overtime wages and an additional equal amount as

liquidated damages, pursuant to NYLL §663(1);

       F.     Award Krakower his wages earned in accordance with the agreed terms of

employment and an additional equal amount as liquidated damages, pursuant to NYLL §198;

       G.     Award Plaintiff prejudgment and postjudgment interest, pursuant to New York

CPLR 5001 and 5004, and NYLL §198;

       H.     Award Plaintiff the costs of this action together with reasonable attorney's fees

pursuant to NYLL §§ 198 and 663(1), and 29 U.S.C. §216(b); and

       I.     Such other relief as the Court may deem just and appropriate.

 PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY OF ALL ISSUES SO TRIABLE

                                                     STEPHEN KRAKOWER


                                                     By its attorneys,


                                                     Michael L. Koenig, Esq.
                                                     Christina L. Lewis, Esq. {pro hac vice
                                                     application to befiled)
                                                     Brendan J. Lowd, Esq. (pro hac vice
                                                     application to befiled)
                                                     HINCKLEY, ALLEN & SNYDER LLP
                                                     30 S. Pearl Street, Suite 901
                                                     Albany, New York 12207
                      SE                             (518)396-3100
DATED: July      -'        ,2014


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